                         Case 3:18-cv-00993-AWT Document 7 Filed 06/13/18 Page 1 of 1
AO 121 (5HY6/)
TO:

                  5HJLVWHURI&RS\ULJKWV                                                               REPORT ON THE
                   86&RS\ULJKW2IILFH                                                       FILING OR DETERMINATION OF AN
                ,QGHSHQGHQFH$YH6(                                                            ACTION OR APPEAL
                :DVKLQJWRQ'&                                                       REGARDING A COPYRIGHT



     In compliance with the provisions of 17 U.S.C. 508, you are hereby advised that a court action or appeal has been filed
on the following copyright(s):
                                                                         COURT NAME AND LOCATION
        ✔ ACTION
        G                      G APPEAL                                   United States District Court - District of Connecticut, Hartford.
DOCKET NO.                          DATE FILED
    3:18-cv-993(AWT)                          6/12/2018
PLAINTIFF                                                                             DEFENDANT
Strike 3 Holdings, LLC                                                                John Doe subscriber assigned IP address
                                                                                      67.85.12.118



       COPYRIGHT
                                                                TITLE OF WORK                                              AUTHOR OR WORK
    REGISTRATION NO.

1 See Complaint

2

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      In the above-entitled case, the following copyright(s) have been included:
DATE INCLUDED                       INCLUDED BY
                                             G Amendment                 G Answer               G Cross Bill           G Other Pleading
       COPYRIGHT
                                                                TITLE OF WORK                                              AUTHOR OF WORK
    REGISTRATION NO.

1

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3                                                                         .


    In the above-entitled case, a final decision was rendered on the date entered below. A copy of the order or judgment
together with the written opinion, if any, of the court is attached.
COPY ATTACHED                                                    WRITTEN OPINION ATTACHED                                     DATE RENDERED

            G Order            G Judgment                                     G Yes        G No

CLERK                                                            (BY) DEPUTY CLERK                                            DATE

Robin D. Tabora                                                  Mary E. Enderlin                                                       6/13/2018
                      1) Upon initiation of action,               2) Upon filing of document adding copyright(s),     3) Upon termination of action,
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